      Case 3:15-cv-02027-AJB-JLB Document 1 Filed 09/11/15 PageID.1 Page 1 of 6



 1   Amy Lynn Bennecoff Ginsburg (275805)
     Kimmel & Silverman, P.C.
 2
     30 East Butler Pike
 3   Ambler, PA 19002
     Telephone: 215-540-8888
 4
     Facsimile: 215-540-8817
 5   aginsburg@creditlaw.com
     Attorney for Plaintiff
 6

 7
                      UNITED STATES DISTRICT COURT
 8              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
                                            )   Case No.: '15CV2027 AJB JLB
10   FABIAN VELOZ                           )
                                            )   COMPLAINT FOR DAMAGES
11
                 Plaintiff,                 )   1. VIOLATION OF THE
12                                          )   TELEPHONE CONSUMER
           v.                               )   PROTECTION ACT, 47 U.S.C. §
13                                          )   227, ET. SEQ.
     CREDIT ONE BANK,                       )
14
                                            )   JURY TRIAL DEMANDED
15                    Defendant.            )
                                            )
16
                                            )
17

18                                    COMPLAINT
19         FABIAN VELOZ (“Plaintiff”), by and through her attorneys, KIMMEL &
20
     SILVERMAN, P.C., alleges the following against CREDIT ONE BANK
21

22
     (“Defendant”):

23

24

25

26

27                                          -1-
                                   PLAINTIFF’S COMPLAINT
28
      Case 3:15-cv-02027-AJB-JLB Document 1 Filed 09/11/15 PageID.2 Page 2 of 6



 1                                    INTRODUCTION
 2
           1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection
 3
     Act, 47 U.S.C. § 227, et. seq. (“TCPA”).
 4

 5

 6                             JURISDICTION AND VENUE
 7
           2.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See
 8
     Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
 9

10         3.     Defendant conducts business in the State of California and as such,
11
     personal jurisdiction is established.
12
           4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
13

14

15                                           PARTIES
16
           5.     Plaintiff is a natural person residing in San Ysidro, California.
17
           6.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
18

19         7.     Defendant is foreign corporation with its principal place of business

20   located at 585 Pilot Road, Las Vegas, Nevada 89119.
21
           8.     Defendant is a “person” as that term is defined by 47 U.S.C. §
22
     153(39).
23

24

25

26

27                                           -2-
                                    PLAINTIFF’S COMPLAINT
28
      Case 3:15-cv-02027-AJB-JLB Document 1 Filed 09/11/15 PageID.3 Page 3 of 6



 1            9.    Defendant acted through its agents, employees, officers, members,
 2
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 3
     representatives, and insurers.
 4

 5

 6                               FACTUAL ALLEGATIONS
 7
              10.   Plaintiff has a cellular telephone number that he has had for over a
 8
     year.
 9

10            11.   Plaintiff has only used this number as a cellular telephone number.
11
              12.   Beginning in August 2015 and continuing through September 2015,
12
     Defendant called Plaintiff on his cellular telephone on a repetitive and continuous
13

14
     basis.

15            13.   When contacting Plaintiff on her cellular telephone, Defendant used
16
     an automatic telephone dialing system and automatic and/or pre-recorded
17
     messages.
18

19            14.   Each call began with an automatic/pre-recorded voice stating a

20   message before Plaintiff was transferred to a live caller.
21
              15.   Plaintiff never consented to Defendant calling his cellular telephone
22
     using an automatic telephone dialing system and automatic and/or pre-recorded
23

24   messages.

25

26

27                                             -3-
                                      PLAINTIFF’S COMPLAINT
28
      Case 3:15-cv-02027-AJB-JLB Document 1 Filed 09/11/15 PageID.4 Page 4 of 6



 1         16.    Defendant’s telephone calls were not made for “emergency purposes.”
 2
     Rather Defendant was calling for an unknown third party named Mr. Jackson.
 3
           17.    Plaintiff told Defendant in late August 2015 that it was calling the
 4

 5   wrong number and to stop calling.

 6         18.    Despite informing Defendant in late August 2015 that he was not Mr.
 7
     Jackson and to stop calling, Defendant continued to call him on his cellular
 8
     telephone.
 9

10

11
                          DEFENDANT VIOLATED THE
12                  TELEPHONE CONSUMER PROTECTION ACT

13         19.    Plaintiff incorporates the forgoing paragraphs as though the same were
14
     set forth at length herein.
15
           20.    Defendant initiated multiple automated telephone calls to Plaintiff’s
16

17   cellular telephone using an automated message and/or prerecorded voice.
18         21.    Defendant initiated these automated calls to Plaintiff using an
19
     automatic telephone dialing system.
20
           22.    Defendant’s calls to Plaintiff were not made for emergency purposes.
21

22         23.    Defendant’s calls to Plaintiff were made without consent.
23
           24.    Defendant’s acts as described above were done with malicious,
24
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
25

26
     under the law and with the purpose of harassing Plaintiff.

27                                          -4-
                                   PLAINTIFF’S COMPLAINT
28
      Case 3:15-cv-02027-AJB-JLB Document 1 Filed 09/11/15 PageID.5 Page 5 of 6



 1         25.    The acts and/or omissions of Defendant were done unfairly,
 2
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
 3
     lawful right, legal defense, legal justification or legal excuse.
 4

 5         26.    As a result of the above violations of the TCPA, Plaintiff has suffered

 6   the losses and damages as set forth above entitling Plaintiff to an award of
 7
     statutory, actual and trebles damages.
 8

 9

10         WHEREFORE, Plaintiff, FABIAN VELOZ, respectfully prays for a
11
     judgment as follows:
12
                  a.     All   actual   damages      suffered   pursuant   to   47   U.S.C.
13

14
                         §227(b)(3)(A);

15                b.     Statutory damages of $500.00 per violative telephone call
16
                         pursuant to 47 U.S.C. §227(b)(3)(B);
17
                  c.     Treble damages of $1,500 per violative telephone call pursuant
18

19                       to 47 U.S.C. §227(b)(3);

20                d.     Injunctive relief pursuant to 47 U.S.C. §227(b)(3);
21
                  e.     Any other relief deemed appropriate by this Honorable Court.
22

23

24

25

26

27                                            -5-
                                     PLAINTIFF’S COMPLAINT
28
      Case 3:15-cv-02027-AJB-JLB Document 1 Filed 09/11/15 PageID.6 Page 6 of 6



 1                         DEMAND FOR JURY TRIAL
 2
            PLEASE TAKE NOTICE that Plaintiff, FABIAN VELOZ, demands a jury
 3
     trial in this case.
 4

 5

 6                                       Respectfully submitted,
 7

 8     DATED: September 11, 2015         By: /s/ Amy Lynn Bennecoff Ginsburg
                                         Amy Lynn Bennecoff Ginsburg, Esq.
 9
                                         (275805)
10                                       Kimmel & Silverman, P.C.
                                         30 East Butler Pike
11
                                         Ambler, PA 19002
12                                       Telephone: (215) 540-8888
                                         Facsimile (215) 540-8817
13                                       Email: aginsburg@creditlaw.com
14
                                         Attorney for Plaintiff

15

16

17

18

19

20

21

22

23

24

25

26

27                                       -6-
                                PLAINTIFF’S COMPLAINT
28
